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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division

LEROY J. KELLY,

      Petitioner,
v.
                                                 Civil Action No. 3:19CV212
VIRGINIA DEPT. OF CORR,

      Respondent.


         CORRECTED MEMORANDUM OPINION ENTERED ON MARCH 9, 2020

      Leroy J. Kelly, a Virginia state prisoner proceeding prose,

brings     this   petition      pursuant   to    28    U.S.C.       §    2254     ("§ 2254

Petition," ECF No. 1) challenging his convictions in the Circuit

Court for the County of Stafford, Virginia (hereinafter, "Circuit

Court")    for robbery and use of a firearm in the commission of a

robbery.     The matter is before the Court on a review of the MOTION

TO DISMISS AND RULE 5 ANSWER           ( "Motion to Dismiss," ECF No.                     11)

filed by Respondent.            For the reasons        that   follow,       the      §   2254

Petition will be denied and the action will be dismissed.

                           I.     PROCEDURAL HISTORY

      A.     Stafford County Proceedings

      On August 3,     1998,      Kelly was charged in the Circuit Court

with robbery, use of a firearm during the commission of a robbery,

possession of a firearm after having been convicted of a felony,

and shooting into an occupied building.                 Kelly v. Dep't of Corr.,

No.   3:15CV243,    2016     WL   4702476,      *3    (E.D.   Va.       Sept.   6,       2016)
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(citations omitted).       On May 22, 2000, the Circuit Court arraigned

Kelly on his then pending state charges.                  See id. at *3-4 (citation

omitted).       Kelly initially pled not guilty and requested a bench

trial, but, on the day of trial, Kelly agreed to plead guilty to

robbery and to use of a firearm in the commission of the robbery

in   exchange      for   the    prosecution's        agreement     to   dismiss    the

remaining charges.       See id.     Kelly attempted to withdraw his guilty

plea several times thereafter.                  See id.    at *4-5.     However,   the

Circuit Court refused to permit Kelly to withdraw his guilty plea

and sentenced him to an active prison term of ten years.                      Id. at

*5 (citation omitted).

         Kelly did not appeal.       See id. at *6-7.

         B.     First Habeas Proceeding In This Court

         In 2015, Kelly filed, in this Court, his first§ 2254 petition

challenging the Stafford County convictions.                    See id. at *1.      In

that petition, Kelly raised a number of claims including challenges

to his guilty plea and ineffective assistance of counsel.                           By

Memorandum Opinion and Order entered September 6, 2016, the first

 § 2254 petition was granted in part, and denied in part.                    See id.

 *1-7.        The Court granted relief on the claim that counsel had

failed to file a direct appeal and therefore Kelly was allowed a

delayed appeal of the Stafford County convictions to the Court of

Appeals of Virginia.           Id. at *7.   All of his other claims including




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the attempts to challenge the convictions and challenges to his

guilty pleas.      Id.

       c.     Belated Appeal Proceedings In The Virginia Courts

       The Court of Appeals of Virginia,                  on September 21,   2016,

granted Kelly a belated appeal of the Stafford County convictions

(see   Part    I .A above) .         The Court of Appeals of Virginia also

appointed counsel to represent Kelly on that belated appeal.                    See

Kelly v. Virginia Dept. of Corr., No. 3:16CV932, 2018 WL 1277742,

at *2 (E.D. Va. Mar. 12, 2018)              (citation omitted).    In the belated

Petition for Appeal, Kelly argued that the Circuit Court had erred

when it denied his motion to withdraw his guilty plea.                    See id.

 (citation omitted) .          On May 5,         2017,   the Court of Appeals of

Virginia denied Kelly's petition for appeal.                   See id.   (citation

omitted).      On May 8,     2017, Kelly noted an appeal to the Supreme

Court of Virginia.             See    id.   (citation omitted).      However,    as

discussed below,         counsel for Kelly did not file a petition for

appeal and thus,         no appeal was pursued in the Supreme Court of

Virginia.

       D.     Second Habeas Petition In This Court

       While the belated appeal was pending in the Court of Appeals

of Virginia,     this Court received, on November 23, 2016, a second

§ 2254 Petition from Kelly challenging the same Stafford County

convictions that were the subject of the first habeas petition in




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this Court.    By Memorandum Order entered on February 9, 2017, the

Court explained:

           Kelly's second§ 2254 Petition is terse and makes
      little sense.     However, the Court gleans from the
      petition that Kelly's underlying intent is to attack the
      validity of his guilty pleas and his convictions and
      asks the Court to vacate his state convictions.       (ECF
      No. 2, at 4-6.) These claims are clearly successive and
      unauthorized.       Because   Kelly   has   not   obtained
      authorization from the United States Court of Appeals
      for the Fourth Circuit to file a successive § 2254
      petition, this Court lacks jurisdiction to entertain
      this portion of the§ 2254 petition.
            Kelly also vaguely argues that because of delay he
      will be unable to have a fair belated appeal in the Court
      of Appeals of Virginia.     (ECF No. 2, at 2-3.)    To the
      extent that Kelly is not challenging his underlying
      conviction or sentence but a defect in his belated
      appeal, that claim may not be successive.       The United
      States Court of Appeals for the Fourth Circuit has
      explained:
            If a habeas petition (state or federal) files
            an application for collateral relief that
            raises   a   successful    appeal   claim   and
            additional claims, any subsequent petition
            will be considered "second or successive" if
            (a) the district court ruled on the merits of
            the additional claims in the initial petition,
            and (b) the petitioner seeks to raise those
            claims again in the subsequent petition.     In
            such a case, "the district court should afford
            the applicant an opportunity to elect between
            deleting the improper claims or having the
            entire   motion   treated   as    a  successive
            application."
      In re Williams, 444 F.3d 233, 236 (4th Cir. 2006 (quoting
      United States v. Winestock, 340 F.3d 200, 207 (4th Cir
      2003)).
            Accordingly, within eleven (11) days of the date of
      entry hereof, Kelly is directed to notify the Court
      whether he would like to "delet[e] the improper claims
      or hav [el the entire motion treated as a successive
      application." Id.

Id. at *2 (citation omitted)       (alteration in original).

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      Thereafter,    Kelly    advised     that     he   wanted    to   delete   the

improper claims and, on April 10, 2017, Kelly submitted a revised

second§ 2254 petition that excluded the improper claims.                  See id.

(citation omitted) .      Respondent moved to dismiss on the ground

that Kelly's claims were procedurally defaulted and barred from

review in federal habeas and,         in the alternative,          lacked merit.

See id. at *3.

      By Memorandum Order entered on February 12, 2018, the Court

directed Kelly to show good cause for his failure to exhaust his

state court remedies.        Id. at *l.       Kelly filed a response, in which

he admitted that he had "not presented [his] particular claim(s)

to the state."      Id. at *4.      Kelly, however, failed to show good

cause to excuse the exhaustion requirement,                and,    by Memorandum

Opinion entered on March 12,          2018,      the Court dismissed without

prejudice, the second§ 2254 petition without prejudice for lack

of exhaustion.      Id. at *5.

      E.    Habeas Petition in the Supreme Court of Virginia

      Thereafter,    on March 19,       2018,     Kelly filed a petition for

writ of habeas corpus in the Supreme Court of Virginia.                         (ECF

No. 13-1, at 1.)     In that habeas petition, Kelly listed his claims

as follows: 1



     1 The Court corrects the punctuation and capitalization and
omits the emphasis in the quotations from Kelly's submissions.
The Court employs the pagination assigned by the CM/ECF docketing
system for citations to Kelly's documents.

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        a.   Ineffective   assistance    of   counsel:      Attorney
             abandonment; failure to investigate clients claim ( s) ;
             failed to timely file appeal which led to due process
             violation of Petitioner's right; coercion/promise by
             attorney of a different outcome, to plea[d] guilty.

        b.   Due process violation for inordinate delay: 17[] years
             before appellate rights ~einstated, cause of prejudice
             to Petitioner of speedy appeal procedure.

(ECF No.     13-1,   at 6.)   In the memorandum that accompanied his

habeas petition in the Supreme Court of Virginia, Kelly said things

quite differently.       He stated:

      "Claim #1: Ineffective assistance of trial counsel."
 (Id. at 12.)

      "Claim #2: Conduct of attorney attributable to the state."
 (Id. at 14.)

      "Claim #3: Was there a plausible alternative strategy other
      than pleading guilty."
 (Id. at 15.)

      "Claim #4: The state of Virginia unconstitutionally deprived
      defendant of his liberty."
 (Id. at 16.)

      "Claim #5: Attorney failed to investigate any circumstances
      surrounding Petitioner's confession."
 (Id. at 18.)

        "Claim #6: The state of Virginia's precedence of withdrawal
        of guilty pleas."
 (Id.   at 21.) 2


       On March 29, 2018, Kelly filed a supplemental memorandum in
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support of the petition pending in the Supreme Court of Virginia,
he alleged a violation of the Fifth Amendment asserting that he
should have received immunity in the state for his statements made
in federal briefings.    (ECF No. 13-1, at 34.)   The Supreme Court
of Virginia refused to consider that claim because it was not
presented in his habeas petition and he failed to request or
receive leave to amend.    (ECF No. 13-3, at 2 n.*.)


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     on    February     12,   2019,   the       Supreme    Court   of   Virginia   of

Virginia combined both sets of claims in its analysis, determined

that Kelly was entitled to no relief, and dismissed Kelly's habeas

petition.     (ECF No. 13-3, at 1-6.)

      F.     Third Habeas Proceeding In This Court

      In his    third,    and current           §   2254   Petition,    Kelly argues

entitlement to relief based upon the following claims:

Claim One:        "Does an excessive delay in direct appeal entitle[]
                  Petitioner to due process violation? And is that
                  violation specific or broadly to an excessive
                  claim?" (§ 2254 Pet. 5.)

Claim Two:        "Because ineffective assistance of counsel claims
                  must be raised in an initial review collateral
                  proceeding in VA., did the VA. Supreme Court rule
                  'contrary to' U. s. S. Ct. preceden [t] . " (Id. at
                  7.)

Claim Three:      "Does an appellate attorney's errors warrant cause
                  to excuse a procedural default?   If so, does due
                  process require[]    an 'adequate and effective'
                  appeal?" (Id. at 8.)

Claim Four:       "Does federal law require the state circuit judge
                  to recuse themselves in any proceeding in which
                  his/her    impartiality    might  reasonably   be
                  questioned?"  (Id. at 10.) 3



      3 On April 19, 2019, Kelly filed a SUPPLEMENTAL REQUEST FOR
RELIEF wherein he attempted to tack on a fifth claim in an improper
manner.    ( ECF No. 3 7 . ) By Memorandum Order entered on May 2 3,
2012, the Court explained as follows:       "The Court will take no
further action on this Supplemental Request.      To the extent that
Petitioner wishes to add additional claims to his§ 2254 Petition,
he must submit a new standardized form for filing a§ 2254 petition
that contains all of the claims he wishes to raise. []       Any new
§ 2254 petition will SUPPLANT any previously filed petition or
supplement."     (ECF No. 5, at 1.)   Kelly never filed a new§ 2254
petition and therefore his new claim is not before this Court.
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      Respondent moves to dismiss the third§ 2254 Petition on the

grounds   that:       (1)    Claim One lacks merit because Kelly was not

prejudiced by         any    delay    in his     appeal;   ( 2)   Claim Two        is   not

cognizable in federal habeas review because it only challenges an

error in his          state post-conviction proceedings,            and     (3)    Claims

Three and Four are barred from review here because Kelly failed to

raise these claims in his state habeas petition in the Supreme

Court of Virginia.            (Br. Supp. Mot. Dismiss 10-12, ECF No. 13.)

      Three of Kelly's claims              (Claims Two,    Three and Four)         simply

are not cognizable in this Court.                  They will be addressed first.

Then, Claim One will be considered on its merits.


                II.     CLAIM NOT COGNIZABLE IN FEDERAL HABEAS

      In Claim Two,           Kelly says that the issue is that:                  "Because

ineffective assistance of              counsel     claims must     be     raised in an

initial review collateral proceeding in VA., did the VA. Supreme

Court rule 'contrary to' U.S. S. Ct. preceden[t] ."                        ( § 2254 Pet.

7.)   Kelly faults the Supreme Court of Virginia for finding that

his ineffective assistance of counsel claims were available to him

before    the     filing       of    his   first   state   habeas        petition,      and

therefore, were barred from review.                  (ECF No.     1-1,    at 6-7.)       As

explained below,            this claim is not cognizable in federal habeas

review.




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        To obtain federal habeas relief, at a minimum, a petitioner

must    demonstrate        that     he    is   "in    custody     in violation of      the

Constitution or laws and treaties of the United States."                       28 U.S. C.

§ 2254 (a) .       Thus,    "claims of error occurring in a                  state post-

conviction proceeding cannot serve as a basis for federal habeas

corpus relief,"          Bryant v. Maryland, 848 F.2d 492, 493 (4th Cir.

1988)     (citations        omitted),          because     the     habeas   petitioner's

detention results from the underlying state conviction, not from

the     state    post-conviction collateral proceeding.                     Lawrence    v.

Branker, 517 F.3d 700, 717 (4th Cir. 2008)                       ("[E]ven where there is

some error in state post-conviction proceedings, a petitioner is

not entitled to federal habeas relief because the assignment of

error relating to those post-conviction proceedings represents an

attack on a proceeding collateral to detention and not to the

detention itself."           (citing Bryant,           848 F.2d at 493;       Bel-Bey v.

Roper, 499 F.3d 752,              756    (8th Cir. 2007); United States v. Dago,

441     F.3d 1238,       1248     (10th Cir.         2006))).      Claim Two raises an

alleged error in his post-conviction proceedings, and, such a claim

is not cognizable in federal habeas review.                          Accordingly,   Claim

Two will be dismissed.


                 III.            EXHAUSTION AND PROCEDURAL DEFAULT

        Before a state prisoner can bring a§ 2254 petition in federal

district        court,     the    prisoner      must     first     have   "exhausted   the


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remedies        available       in    the   courts   of   the   State."     28   u.s.c.
§ 2254(b) (1) (A).         Exhaustion has two aspects.           First, a petitioner

must use all available state remedies before he can apply for

federal habeas relief.                See O'Sullivan v. Boerckel, 526 U.S. 838,

844-48 (1999).           A habeas petitioner "shall not be deemed to have

exhausted the remedies available in the courts of the State, within

 the meaning of this section, if he has the right under the law of

 the    State    to    raise,        by any available     procedure,      the question

presented."           28 U.S.C. § 2254(c).

        The second aspect of exhaustion requires a petitioner to have

 offered the state courts an adequate opportunity to address the

 constitutional claims advanced on federal habeas.                     "To provide the

 State with the necessary 'opportunity,' the prisoner must 'fairly

 present'       his claim in each appropriate state court                 (including a

 state supreme court with powers of discretionary review), thereby

 alerting that court to the federal nature of the claim."                        Baldwin

 v.    Reese,    541 U.S.       27,    29   (2004)   (quoting Duncan v.     Henry,   513

 U.S.    364,    365-66    (1995)).         Fair presentation demands that "both

 the operative facts and the controlling legal principles" must be

 presented to the state court.                 Longworth v. Ozmint, 377 F.3d 437,

 448 (4th Cir. 2004)            (quoting Baker v. Corcoran, 220 F.3d 276, 289

 (4th Cir.       2000)).        The burden of proving that a claim has been

 exhausted in accordance with a "state's chosen procedural scheme"

 lies with the petitioner.                  Mallory v. Smith, 27 F.3d 991, 994-95

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 (4th Cir. 1994).        The United States Court of Appeals for the

Fourth Circuit summed up a petitioner's burden in this regard as

follows:

        [T]he exhaustion requirement demands that the petitioner
        "do more than scatter some makeshift needles in the
        haystack of the state court record. The ground relied
        upon must be presented face-up and squarely; the federal
        question must be plainly defined. Oblique references
        which hint that a theory may be lurking in the woodwork
        will not turn the trick."

 Mallory v. Smith, 27 F.3d 991, 995 (4th Cir. 1994)               (quoting Martens

 v. Shannon, 836 F.2d 715, 717 (1st Cir. 1988)).

        "A distinct but related limit on the scope of federal habeas

 review is the doctrine of procedural default."                  Breard v. Pruett,

 134 F.3d 615, 619 (4th Cir. 1998).             This doctrine provides that,

 "[i]f a state court clearly and expressly bases its dismissal of

 a habeas petitioner's claim on a state procedural rule, and that

 procedural rule provides an independent and adequate ground for

 the dismissal,     the habeas petitioner has procedurally defaulted

 his federal habeas claim."         Id.    (citing Coleman v. Thompson, 5 01

 U.S.    722,   731-32   (1991)).     A federal         habeas    petitioner   also

 procedurally defaults claims when the "petitioner fails to exhaust

 available state remedies and 'the court to which the petitioner

 would be required to present his              claims    in order to meet the

 exhaustion requirement       would now        find   the   claims    procedurally




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barred.'"        Id.   (quoting Coleman,        501 U.S.     at 735 n.     1) . 4     The

burden      of   pleading     and   proving     that   a   claim   is    procedurally

defaulted rests with the state.               Jones v. Sussex I State Prison,

 591 F.3d 707, 716 (4th Cir. 2010)            (citing cases).      Absent a showing

 of cause and prejudice or a fundamental miscarriage of justice,

 this Court cannot review the merits of a defaulted claim.                            See

 Harris v. Reed, 489 U.S. 255, 262 (1989)

        In Virginia,      to exhaust state remedies,           a   "petitioner must

 present the same factual and legal claims raised in the instant

 petition to the Supreme Court of Virginia either by way of (i) a

 direct appeal,        (ii)   a state habeas corpus petition, or (iii)                  an

 appeal from a circuit court's denial of a state habeas petition."

 Sparrow v. Dir., Dep't of Corr., 439 F. Supp. 2d 584, 587                           (E.D.

 Va.    2006); see also Va.         Code Ann.    §   8. 01-654 (A) (1)   (West 2018).

 "Whichever route the inmate chooses to follow,                    it is clear that

 [the inmate] ultimately must present his                  [federal habeas]         claims

 to the Supreme Court of Virginia and receive a ruling from that

 court before a federal district court can consider them."                           Banks

 v.    Johnson, No.     3:07CV746-HEH,     2008 WL 2566954, at *2           (E.D. Va.

 June 26, 2008)        (second alteration added)           (quoting Graham v. Ray,



        Under these circumstances, even though the claim has not
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 been fairly presented to the Supreme Court of Virginia, the
 exhaustion requirement is "technically met." Hedrick v. True, 443
 F.3d 342, 364 (4th Cir. 2006) (citing Gray v. Netherland, 518 U.S.
 152, 161-62 (1996)) .


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No. 7:05CV00265, 2005 WL 1035496, at *2                  (W.D. Va. May 3, 2005));

 see also Sparrow, 439 F. Supp. 2d at 587.

      Kelly did not raise in the Supreme Court of Virginia claims

 Three or Four.           In his state habeas petition,          Kelly only raised

 claims alleging ineffective assistance of trial counsel.                 See supra

 Part I.F.    In Claim Three, culled to its essence, Kelly faults the

 attorney, Martha Norton, who represented him in his belated appeal

 for failing to include a list of claims Kelly wanted her to pursue

 in his appellate brief.              (ECF No. 1-1, 9-10.)      In his REBUTTAL TO

 DISMISS RESPONDENT'S MOTION TO DISMISS                 ("Rebuttal," ECF No. 15),

 Kelly claims that he presented Claim Three "to the Virginia Supreme

 Court   in the      form of an Affidavit,             by Petitioner.     (June 20,

 2018)."     (Id. at 4.)          Kelly did not raise this claim squarely in

 his state habeas petition, and the Supreme Court of Virginia did

 not rule on this claim, and therefore, Kelly did not fairly present

 this claim to the Supreme Court of Virginia.                   See Banks, 2008 WL

 2566954,    at     *2;    Mallory,    27   F. 3d at    995   (explaining that    the

 "ground     must     be     presented      face-up     and   squarely"   for    fair

 presentation).           Thus,   Claim Three is simultaneously unexhausted

 and defaulted.           If Kelly attempted to raise Claim Three in the

 Supreme Court of Virginia,             that Court would find it procedurally

 defaulted and time-barred pursuant to Section 8.01-654(A) (2) and

 8.01-654(B) (2) of the Virginia Code.                 Both Virginia's statute of

 limitations for habeas actions and successive petition bars are

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adequate and independent procedural rules when so applied.                          See

George v. Angelone, 100 F.3d 353, 363-64 (4th Cir. 1996); Sparrow,

439 F. Supp. 2d at 587-88.            Kelly fails to demonstrate any cause

or prejudice, and accordingly, Claim Three is barred from review

here.

         In Claim Four, Kelly argues that the Circuit Court judge who

 presided over the Stafford County proceedings was not impartial

 and should have been recused.           (§ 2254 Pet. 10.)     Again, Kelly did

 not present this claim to the Supreme Court of Virginia, and it

 too    is   simultaneously       unexhausted     and   defaulted.        If    Kelly

 attempted to raise Claim Four in the Supreme Court of Virginia,

 that Court would find it procedurally defaulted and time-barred

 pursuant     to   Section      8.01-654(A) (2)   and   8.01-654(B) (2)        of   the

 Virginia Code and barred by the rule in Slayton v. Parrigan, 205

 S.E.2d 680,       682   (Va.   1974) because Kelly could have raised, but

 failed to raise, this claim at trial and on direct appeal.                    Slayton

 also constitutes an adequate and independent state procedural rule

 when so applied.         See Mu'Min v. Pruett, 125 F.3d 192, 196-97 (4th

 Cir. 1997).       In his Rebuttal, Kelly argues that he lacked access

 to a complete copy of his state court records.              (ECF No. 15, at 7-

 8.)    Kelly fails adequately to explain why incomplete records would

 have prevented him from raising this claim before the Supreme Court




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of Virginia.      And,    Kelly has failed to establish cause for the

default or prejudice, thus Claim Four is barred from review here. 5


                 IV.     MERITS REVIEW OF REMAINING CLAIM

       Of his four claims raised in his§ 2254 Petition, Claim One

is the only claim that Kelly properly raised in the state courts.

Thus, the Court may review Claim One on its merits.            As discussed

below, Kelly fails to establish any error in the Supreme Court of

Virginia's conclusion that Claim One lacks merit.

       A.    Applicable Constraints Upon Habeas Review

       The Antiterrorism and Effective Death Penalty Act ("AEDPA")

 of   1996   further   circumscribed this      Court's   authority to grant

 relief by way of a writ of habeas corpus.           Specifically, "[s]tate

 court factual determinations are presumed to be correct and may be

 rebutted only by clear and convincing evidence."           Gray v. Branker,

 529 F.3d 220, 228 (4th Cir. 2008)         (citing 28 U.S.C. § 2254 (e) (1)).



       5Martinez v. Ryan, 566 U.S. 1 (2012), and Trevino v. Thaler,
 569 U.S. 413 (2013), fail to establish cause for the procedural
 default of this claim.
      Although Kelly had no counsel at his "initial-review
 collateral proceeding," Martinez, 566 U.S. at 16, that fails to
 excuse his default.    To the extent that Kelly faults appellate
 counsel for failing to raise this claim in his direct appeal, the
 explicit language of Martinez applies to an inmate's default of a
 claim of ineffective assistance of trial counsel only. See Gaither
 v. Zook, No. 16CV64, 2017 WL 562419, at *4 (E.D. Va. Jan. 18, 2017)
 (citations omitted).      Thus,   the ineffective assistance of
 appellate counsel fails to serve as the cause for the default of
 this claim.


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Additionally, under 28 U.S.C. § 2254(d), a federal court may not

grant     a   writ   of    habeas     corpus       based   on   any   claim   that   was

adjudicated on the merits in state court unless the adjudicated

 claim:

        (1)  resulted in a decision that was contrary to, or
        involved an unreasonable     application of,  clearly
        established Federal law, as determined by the Supreme
        Court of the United States; or

        (2)  resulted in a decision that was based on an
        unreasonable determination of the facts in light of the
        evidence presented in the State court proceeding.

 28 U.S.C.     § 2254(d).      The Supreme Court has emphasized that the

 question "is not whether a federal court believes the state court's

 determination was         incorrect but whether that determination was

 unreasonable-a        substantially          higher    threshold."       Schriro     v.

 Landrigan,     550 U.S.     465,     473    (2007)    (citing Williams v. Taylor,

 529 U.S.     362,   410   (2000)).

        B.     Claim One Lacks Merit

        In Claim One, Kelly asks:             "Does an excessive delay in direct

 appeal entitle[] Petitioner to due process violation?                    And is that

 violation specific or broadly to an excessive claim?"                          (§   2254

 Pet. 5.)      It is not entirely clear what Kelly intends to argue in

 Claim One.      He contends that the "the right in appealing the claim

 some 16-17 years previous,                 has been excessively unreasonable."

 (ECF No. 1-1, at 5.)         However, Kelly does not identify "the claim"

 that he wished to appeal,             and from his submissions,          it does not


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appear that Kelly truly has an underlying claim that he believes

was prejudiced by the delay.         Instead, Kelly seemingly argues that

the   delay    in    the   appeal   process   standing   alone   caused   him

prejudice.     Kelly states that "now,        19 years later          it is

extremely clear that any meaningful appeal at this state, would be

meaningless.        Therefore, discharge is the appropriate remedy under

this constitutional violation."          (Id. at 6.)

      The Supreme Court of Virginia reviewed this claim and rejected

 it on the merits, explaining that:

            In a portion of claim (b) and in claim (2),
      petitioner contends the delay in pursuing an appeal to
      the Court of Appeals of Virginia deprived petitioner of
      due process.
            The Court holds this portion of claim (b) and (2)
      are without merit.        The Fourth Circuit has held that
      "undue delay in processing an appeal may rise to the
      level of a due process violation."         United States v.
      Hood, 556 F.3d 226, 237 (4th Cir. 2009).        Assuming the
      delay between petitioner's conviction and his appeal to
      the Court of Appeals, instigated by his attorney's
      failure to timely file a notice of appeal, could
      potentially rise to the level of a due process violation,
      petitioner has failed to demonstrate he is entitled to
      relief. The record, including the May 5, 2017 per curiam
      order of the Court of Appeals of Virginia, demonstrates
      petitioner received a belated appeal and the Court of
      Appeals denied his petition for appeal on the merits.
      "[W]here, as here, the appeal has been heard and found
      lacking in merit there is not any sound reason to order
      defendant's release."        United States v. Johnson, 732
      F.2d 379, 382-83 (4th Cir. 1984).        Consistent with the
      Fourth Circuit's approach, other federal circuit courts
      require a showing that the delay in processing the appeal
      resulted in prejudice.        See United States v. Antoine,
       906 F. 2d 13 79, 13 82 ( 9th Cir. 1990) ("If his conviction
      is proper, there has been no oppressive confinement: he
      has merely been serving his sentence as mandated by
      law."); see also Muwwakkil v. Hoke, 968 F.2d 284, 285

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      (2d Cir. 1992)      (federal habeas relief unavailable
      because petitioner "produced no evidence that prompt
      disposition of his appeal would have yielded a different
      outcome''); Mathis v. Hood, 937 F.2d 790, 794 (2d Cir.
      1991) (" [SJ ome showing of prejudice to the appeal is
      necessary for habeas relief.")

 (ECF No.    13-3,   at   2-3   (alteration   in original).)     The   Court

discerns no unreasonable application of the law and no unreasonable

 determination of the facts because Kelly demonstrates no prejudice

 from the delay.     See 28 U.S.C. § 2254(d) (1)-(2).

      Kelly was provided an opportunity to file a belated appeal,

 and in that appeal, Kelly argued that the Circuit Court had erred

 in denying his motion to withdraw his guilty plea.            The Court of

 Appeals of Virginia rejected his claim on the merits in a thorough

 decision.   See Kelly v. Commmonwealth, No. 1715-16-14, at 1-6 (Va.

 Ct. App. May 5, 2017).         Kelly fails to demonstrate any prejudice

 to the appeal despite the delay. 6         Thus, Kelly fails to establish

 any error in the Supreme Court of Virginia's conclusion that his

 claim lacks merit.       Accordingly, Claim One will be dismissed.




       6In his Rebuttal, Kelly indicates that he personally was
 prejudiced, but that is not the relevant inquiry. Kelly contends
 that the delay "continue [s] to have a detrimental [e] f feet on [his]
 rehabilitation.   His security level has remained High throughout
 his incarceration because of the "hold" which the State has on
 Petitioner's custody level.     Which prevents him from pursuing a
 lower   custody   level    to   enable   him   to   participate     in
 programming .       "  (Rebuttal 3.) Kelly next contends that this
 delay in his appeal has caused him anxiety and stress.           (Id.)
 Neither of these arguments address how the delay in processing
 Kelly's appeal resulted in prejudice to that appeal.

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                                   V.    CONCLUSION

      For the     foregoing        reasons,        Respondent' s   Motion to Dismiss

 (ECF No.   11)   will be granted.             Kelly's     §   2254 Petition will be

 denied and his claims dismissed.                   A certificate of appealabilty

 will be denied.

       The Clerk is directed to send a copy of Memorandum Opinion to

 Kelly and counsel of record.

       It is so ORDERED.

                                                                /s/
                                         Robert E. Payne
                                         Senior United States District Judge


 Richmond, Virginia
 Date: September ';<)   ,   2020




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